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                                     MINUTES


 CASE NUMBER:            CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:              USA vs. (01) Anthony T. Williams
 ATTYS FOR PLA:          Gregg Paris Yates
                         Kenneth M. Sorenson
 ATTYS FOR DEFT:         Anthony T. Williams, Pro se (participated telephonically)
                         Lars R. Isaacson (Stand-by)

      JUDGE:       Leslie E. Kobayashi          REPORTER:        Debra Read

      DATE:  2/21/2020                   TIME:           2:38 PM - 4:03 PM
COURT ACTION: EP: Status Conference as to Defendant (01) Anthony T. Williams
held.

Defendant (01) Anthony T. Williams present in custody. Defendant (01) Anthony T.
Williams participated telephonically. Defendant (01) Anthony T. Williams waives his
physical appearance in court.

Status Conference held regarding jury instructions and verdict form.

Government to prepare redacted version of the Superseding Indictment to be provided to
the jury during deliberations.

Discussion also held regarding: issues related to whether or not Defendant decides to
testify; and the Government’s rebuttal case.

Submitted by: Mary Feria, Courtroom Manager
